Case 24-70089-swe11           Doc 87    Filed 05/13/24 Entered 05/13/24 14:13:11            Desc Main
                                       Document     Page 1 of 5

 Paul H. Cross
 Texas Bar No. 05131500
 PAUL H. CROSS ATTORNEY AT LAW PLLC
 11300 N. Central Expwy., Suite 604
 Dallas, Texas 75243
 Telephone:      214.926.5734
 Facsimile:      214.269.1439
 Email: phclease@msn.com

 ATTORNEY FOR HANMI BANK

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                   WICHITA FALLS DIVISION

 IN THE MATTER OF:                                   §            CASE NO. 24-70089
                                                     §
 HIGH PLAINS RADIO NETWORK, LLC,                     §
                                                     §
         DEBTOR                                      §            CHAPTER 11, Subchapter V

    AMENDED NOTICE OF HEARING OF HANMI BANK’S MOTION FOR RELIEF FROM
  AUTOMATIC STAY AND NOTICE OF HEARING OF HANMI BANK’S SECOND AMENDED
     MOTION TO COMPEL ASSUMPTION OR REJECTION OF EQUIPMENT FINANCE
    AGREEMENTS AND NOTICE OF HEARING OF HANMI BANK’S APPLICATION FOR
   ADMINISTRATIVE EXPENSES OWED UNDER EQUIPMENT FINANCE AGREEMENTS

         Hanmi Bank’s Motion for Relief From Automatic Stay, Hanmi Bank’s Second Amended Motion
 to Compel Assumption or Rejection of Equipment Finance Agreements, and Hanmi Bank’s Application
 for Administrative Expenses Owed Under Equipment Finance Agreements are set for hearing via WebEx
 on May 23, 2023 at 10:00 o’clock a.m. before the Honorable Scott W. Everett, United States Bankruptcy
 Judge, in the United States Federal Courthouse, 1000 Lamar Street, Room 222, Wichita Falls, Texas
 76301.

         The hearing will be conducted via WebEx. The WebEx hearing instructions are as follows:

For WebEx Video Participation/Attendance:        https://us-courts.webex.com/meet/everett
For WebEx Telephonic Participation/Attendance:   Dial-In:           1- 650-479-3207
                                                 Access Code:       476 420 189

         Further WebEx instructions from the above-named Court are attached to this notice and
 incorporated by reference.

         GIVEN on May 13, 2024.




 AMENDED NOTICE OF HEARING OF HANMI BANK’S MOTION FOR RELIEF FROM AUTOMATIC STAY AND NOTICE OF
 HEARING OF HANMI BANK’S SECOND AMENDED MOTION TO COMPEL ASSUMPTION OR REJECTION OF EQUIPMENT
 FINANCE AGREEMENTS AND NOTICE OF HEARING OF HANMI BANK’S APPLICATION FOR ADMINISTRATIVE
 EXPENSES OWED UNDER EQUIPMENT FINANCE AGREEMENTS                                        Page 1
Case 24-70089-swe11         Doc 87        Filed 05/13/24 Entered 05/13/24 14:13:11            Desc Main
                                         Document     Page 2 of 5

                                                           Respectfully submitted,


                                                           ___________
                                                           Paul H. Cross
                                                           Texas Bar No. 05131500
                                                           PAUL H. CROSS ATTORNEY AT LAW PLLC
                                                           11300 N. Central Expwy., Suite 604
                                                           Dallas, Texas 75243
                                                           Telephone:     214.926.5734
                                                           Facsimile:     214.269.1439
                                                           Email: phclease@msn.com

                                                           COUNSEL FOR HANMI BANK

                                             Certificate of Service

         The undersigned certifies that on May 13, 2024 a true and correct copy of the foregoing motion
 was served via ECF all those receiving ECF notification in this case and via regular first class mail as
 follows:

        High Plains Radio Network, LLC
        c/o Monte Lee Spearman, Member
        P.O. Box 1419
        Vernon, Texas 76384

        U.S. Trustee
        United States Trustee
        1100 Commerce Street
        Room 976
        Dallas, Texas 75202

        U.S. Small Business Administration
        10737 Gateway, Suite 300
        El Paso, Texas 79935

        Jeffrey D. Carruth
        Counsel for Debtor
        Weycer Kaplan Pulaski & Zuber, P.C.
        2608 Hibernia, Suite 105
        Dallas, Texas 75204-2514

        Scott M. Seidel -SBRA V
        Seidel Law Firm
        6505 West Park Blvd, Suite 306
        Plano, TX 75093
        (214) 234-2500

                                                            fa.Jff~
                                                           ___________
                                                           Paul H. Cross



 AMENDED NOTICE OF HEARING OF HANMI BANK’S MOTION FOR RELIEF FROM AUTOMATIC STAY AND NOTICE OF
 HEARING OF HANMI BANK’S SECOND AMENDED MOTION TO COMPEL ASSUMPTION OR REJECTION OF EQUIPMENT
 FINANCE AGREEMENTS AND NOTICE OF HEARING OF HANMI BANK’S APPLICATION FOR ADMINISTRATIVE
 EXPENSES OWED UNDER EQUIPMENT FINANCE AGREEMENTS                                        Page 2
  Case 24-70089-swe11         Doc 87      Filed 05/13/24 Entered 05/13/24 14:13:11 Desc Main
                                       Document        Page 3 of 5
Hearings in the Wichita Falls Division of the Northern District of Texas Bankruptcy are pre-scheduled
as either LIVE or WEBEX hearings as set forth on Judge Everett’s yearly docket dates. There is no
fee/charge for the participants who make appearances via Webex, although you will have to download
the WebEx application to your electronic device. The WebEx meeting link for Judge Everett’s
courtroom is: https://us-courts.webex.com/meet/everett . The number for Webex telephonic
appearances (US/Canada) is: 1-650-479-3207; Access code: 476 420 189. Please note: Webex
appearances at a LIVE hearing are not an option.



    ___________________________________________________________________________
    Please review the information below prior to participating in a hearing via WebEx.

     CONNECTION INSTRUCTIONS FOR PARTICIPATING IN A WEBEX VIRTUAL
     HEARING
    The Court will allow participation in a virtual hearing using either of the following two methods.
    Please connect at least 10 minutes prior to the hearing time. It is recommended that attorneys
    discuss the logistics of the WebEx appearance and these instructions/tips with their
    clients/witnesses at least 48 hours before the hearing.
    Option 1: Using the WebEx app on your smartphone, tablet, laptop, or desktop.
    It is strongly preferred that participants who may speak during a hearing use the WebEx application
    rather than using the “call-in" option described in Option 2.
    Attorneys and/or witnesses who anticipate offering extensive testimony or legal argument or
    conducting examination are required to utilize the video function. The court may consider special
    requests for other appearance options on a case-by-case basis.
    Please connect using only one device. Using two or more devices may cause audio feedback
    issues.
    If using a cell phone or tablet for video, it should be set in a stationary position. Holding a cell
    phone or tablet in your hand while speaking does not yield a good video for the Court.
    NOTE: If you are experiencing audio issues when using the WebEx application, you may use
    the “Call Me At” selection under “Audio Connection” to move just the audio portion of the WebEx
    conference to your telephone.


    Option 2: Call-in via phone (audio only).
    The call-in number for Webex telephonic appearances (US/Canada) is: 1-650-479-3207. Access
    code: 476 420 189. The access code should be input when prompted.
        Case 24-70089-swe11        Doc 87     Filed 05/13/24 Entered 05/13/24 14:13:11                    Desc Main
                                             Document     Page 4 of 5

                                      HELPFUL HINTS AND ETIQUETTE
    •    Please use the mute function when you are not speaking. Please be aware that sometimes the court
         mutes everyone when there is background noise. When you want to speak, make sure you are not
         on mute. Call-in users should dial *6 to unmute your line.
    •    Remember to state your name for the record each time before speaking and speak slowly and clearly
         so thecourt can get a good record.
    •    Use headphones whenever possible, especially if using a desktop PC with external speakers. We
         have found that newer iPhones provide the best visual and audio feed – better than most desktop
         computers. If you are on a personal computer, headphones or earbuds are required for those who
         need to speak during the hearing.
    •    During examination attorneys and witnesses should use a separate camera and microphone, when
         possible. To avoid feedback parties using separate devices must not be in the same room. The
         Court may consider special requests on a case-by-case basis.
    •    WebEx participants may use the "share" button to easily share their screen or document with the
         Court or
         other WebEx participants. Press “stop sharing” to remove the presentation from the meeting.
    •    When making an appearance from a vehicle, please park in a safe location with windows rolled up
         (to minimize background distraction and noise) and use a headset that is ear-to-phone (not the
         vehicle’s hands-free speaker-phone option).
    •    Suggestions for participating in a WebEx hearing from home: If you are having connectivity
         problems, turn off devices that may be using bandwidth on your home network. Devices or
         applications such as Facetime, Roku, streaming media players, video games, or large downloads
         can negatively impact the audio and video quality of the WebEx meeting.
    •    Participants are reminded that they should wear attire suitable for court.
    •    Participants who wish to test their WebEx connection or the share-screen functionality in advance
         of the hearing may arrange a “practice run” by contacting the courtroom deputy via email to
         swe_settings@txnb.uscourts.gov                                                                  .


        NOTICE OF HEARING CONTENT FOR MATTERS SET ON VIDEO DOCKET DATES

IMPORTANT: Video dockets will be conducted via Webex video at https://us-
courts.webex.com/meet/everett . When electronically filing the Notice of Hearing via CM/ECF select
“https://us-courts.webex.com/meet/everett” as the location of the hearing (note: this option appears
immediately after the first set of Wichita Falls locations). NOTE: Chapter 13 matters set for pre-
hearing conference will be conducted electronically by the Chapter 13 trustee at 8:30 AM via the
Go-To platform: https://meet.goto.com/110600453 . Dial in (for audio only): 1 (646) 749-3122
(US); Access Code: 110 600 453.

The Notice of Hearing filed in the case and served on parties in interest must: (1) provide notice of the
above WebEx video participation/attendance link for Judge Everett, (2) provide notice of the above
Go-To-Meeting video link (for matters requiring a pre-hearing conference), and (3) attach a copy of
these WebEx Hearing Instructions or provide notice that they may be obtained from Judge Everett’s
webpage at: Judge Everett's Hearing dates | Northern District of Texas | United States Bankruptcy Court (uscourts.gov)
.
   Case 24-70089-swe11         Doc 87    Filed 05/13/24 Entered 05/13/24 14:13:11             Desc Main
                                        Document     Page 5 of 5
                                EXHIBITS AND DEMONSTRATIVE AIDS

Any party intending to introduce evidence at a hearing must file an exhibit list with a true and correct
copy of each designated exhibit filed as a separate, individual attachments thereto so that the Court and
all participants have ready access to all designated exhibits. Exhibits should be filed by the date that
they would normally be exchanged pursuant to our local rules using the "notice" or "list
(witness/exhibit/generic)" or “Support/Supplemental doc” event in ECF.

For evidentiary hearings when more than ten exhibits have been filed in ECF or when the total page
count of all exhibits exceeds 500 pages, Judge Everett requests a thumb/USB drive be delivered to him
prior to the hearing at: U.S. Bankruptcy Court, Attn: Stephen Manz, 1100 Commerce Street, Room
1254, Dallas, TX 75242.

Paper copies of exhibits are not encouraged; however, paper copies may be provided to the
witness(s) at an in-person hearing if preferred.

Demonstrative aids and Power Points may be shared with the Court and other Webex participants during
a video hearing via the “share” button in Webex. If these demonstrative aids and/or Power Points are
admitted as exhibits, they would then have to be filed on the ECF docket after the hearing.
During a Webex hearing lawyers may refer to (and offer) their exhibits by referencing the exhibit’s
ECF document number for the Court and other Webex participants to access. After the hearing, the
court will create a Minute Entry reflecting which exhibits were admitted. You should consider emailing
exhibits to witnesses ahead of time since they may not have access to PACER.
